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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


                                           )
INTERNATIONAL BUSINESS MACHINES            ) REDACTED PUBLIC VERSION
CORPORATION,                               )
                                           )
                      Plaintiff,           )
                                           )
                 v.                        ) C.A. No. 16-122-LPS
                                           )
GROUPON, INC.                              )
                                           )
                      Defendant.           )


                        REPLY IN SUPPORT OF MOTION FOR
                      SUMMARY JUDGMENT OF GROUPON, INC.


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   Dated: March 28, 2018




{01306350;v1 }
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I.       IBM FAILS TO SHOW THAT A REASONABLE JURY CAN FIND THAT
         GROUPON INFRINGES THE FILEPP PATENTS.

         A.      IBM cannot prove infringement of the ’967 patent.

         All claims require “generating a first area for presenting applications.” IBM repeatedly

claims in its opposition that the area for presenting applications can be the applications themselves.

(D.I. 248 at 4-5.) But if this is true, it eviscerates the claim requirement and logic. An area for

presenting a painting, is not the painting, it is a wall. Dr. Schmidt’s entire infringement theory is

based on this faulty premise.

         According to Dr. Schmidt,

                                                                                   (Shamilov Decl.,1

Ex. 3 ¶ 174; Ex. 6 ¶ 63);

                             (Ex. 3 ¶ 18); and, although he did not analyze it,



                                     (Ex. 4 (“Schmidt Depo.”) at 44:4-10, 31:13-19; Supplemental

Declaration of Saina Shamilov (“Shamilov Supp. Decl.”), Ex. 1 at 41:20-42:16). If the area for

displaying applications must be something other than the application itself—as the as the plain

language of the claims construed by the Court requires—his infringement theory fails.

         IBM now attempts to present an alternative infringement theory equating the claimed area

to “where the content appears” and the claimed applications to “what is presented.” (D.I. 248 at

4.) But there is no support for that theory in Dr. Schmidt’s reports. IBM concedes as much by

altering the figure from Dr. Schmidt’s report in its opposition. Here is the figure from Dr.

Schmidt’s report on the left (Ex. 6 ¶ 51) and, the one IBM claims is his on the right (D.I. 248 at

3):


1
 Unless otherwise noted, exhibit citations are to the Declaration of Saina Shamilov filed in support
of Groupon’s opening brief (D.I. 228).


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IBM changed the red border in Dr. Schmidt’s drawing. In Dr. Schmidt’s drawing,

                                                                                           Moreover,

Dr. Schmidt explained that

                                                         (Schmidt Depo. at 30:7-31:12 (discussing a

similarly annotated figure at Ex. 3 ¶ 153).)

         Dr. Schmidt did not opine that

                              (D.I. 248 at 5.) Indeed, IBM cites to not a single page in Dr. Schmidt’s

expert reports to support this theory. There is none. And IBM’s new theory fails.



       (Ex. 5 ¶ 30), much less an area for presenting applications. Nor are      like “‘page template

objects’ and ‘page format objects’” of the patent (D.I. 248 at 5);         do not “provide the origin,

i.e. drawing points, and dimensions of each page partition.” (Ex. 1 at 11:27-34.)

         Further, the Versa decision IBM cites does not support IBM’s assertion that “the first area

for presenting applications” need not be capable of presenting multiple applications. There, the

court found that “in context, the plural can describe a universe ranging from one to some higher

number.”2 Versa Corp. v. Ag-Bag Int’l. Ltd., 392 F.3d 1325, 1330 (Fed. Cir. 2004) (emphasis


2
    The context there was that the parties disputed a construction of “means . . . for creating air


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         B.      IBM cannot prove infringement of the ’849 patent.

         IBM accuses the same technology it did in Priceline:



Whether those parameters are followed is outside of Groupon’s control and in the hands of users

and browser makers. It is undisputed that Groupon has no control over whether the cache is ena-

bled on desktop or mobile browsers. Similarly, as this Court held in Priceline, it is undisputed that

the storage of the accused objects on a user’s mobile device is performed by the mobile OS. (Price-

line, No. 1:15-cv-00137-LPS, Order on Reconsideration (D.I. 559) at 3 n.3 (Feb. 1, 2018) (“De-

fendants’ cache control parameters instruct the operating system as to which object(s) to cache and

for how long; the actual caching is performed by the mobile operating systems.”).)

         IBM’s argument, relying on cases regarding multi-use products, misses the mark. (D.I.

248 at 10.) The issue is not whether a product provided by Groupon has infringing and non-

infringing uses. The issue, as in Priceline, is whether Groupon or a third party controls the required

storing step of the asserted method claims. The answer is the same as in Priceline: The undisputed

facts demonstrate that Groupon is not the party performing or controlling the storing step of the

’849 patent claims, and cannot be held liable for infringement. This alone is sufficient for the

Court to enter summary judgment of non-infringement. None of IBM’s other arguments change

the result that Groupon does not infringe.
                 1.    IBM has no evidence, or expert opinion, that Groupon itself ever per-
                       formed the allegedly infringing steps.

         IBM contends that, even if Groupon does not infringe when users use its website, Groupon

                  and thus directly infringes the asserted claims. (D.I. 248 at 10-11.) But in his



5
  IBM relies on language in the HTTP specification stating that “[t]he Cache-Control general-
header is used to specify directives that MUST be obeyed by all caching mechanisms” but IBM
omits the fact that each of these headers merely limit what may be cached; none of these parameters
require the caching of anything. (D.I. 248 at 13, citing D.I. 249, Ex. 19 at 108.)


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 report, Dr. Schmidt only generally alleges that Groupon infringes the asserted patents

                           (Id. at 10.) Dr. Schmidt does not identify



                          There is no “evidence of infringement                                 (id. at

 11) and no expert opinion of the same to rebut. IBM has not even identified evidence that

                                            It is IBM’s burden to prove infringement, and it cannot

 meet it. 6
                  2.     IBM’s new joint infringement theory relies on an incorrect interpreta-
                         tion of the law.

          In its opposition—for the first time in this case—IBM introduces a theory of joint infringe-

 ment based on Groupon’s alleged control of its users. (D.I. 248 at 13-14.) IBM includes no cita-

 tions to its expert reports in support of this theory, because it is not there. Every citation IBM



 (Id. at 13.) Nor did IBM disclose this theory in its infringement contentions.7 (See Shamilov Supp.

 Decl., Ex. 3.) IBM has waived any such theory. See St. Clair Intellectual Prop. Consultants Inc.

 v. Matsushita Elec. Indus. Co., No. 04–1436–LPS, 2012 WL 1015993, at *9 (D. Del. Mar. 26,

 2012) (denying patentee’s request to add new infringement theories after summary judgment mo-

 tions filed), aff’d, 522 F. App’x 915 (Fed. Cir. 2013).

          And, in any event, IBM’s new theory fails. Akamai requires that the accused infringer “[1]

 condition[] participation in an activity or receipt of a benefit upon performance of a step or steps

 of a patented method and [2] establish[] the manner or timing of that performance.” Akamai Techs.


 6
     Nor has IBM offered an opinion on what damages it is entitled for
 7
  At most, IBM’s expert report and infringement contentions passingly reference a joint infringe-
 ment theory based on
                         (Shamilov Supp. Decl., Ex. 4 ¶ 231.) This theory is unrelated to IBM’s
 newly-asserted joint infringement theory based on Groupon’s users.


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 v. Limelight Networks, Inc., 797 F.3d 1020, 1023 (Fed. Cir. 2015). It is undisputed that

                                                                         (D.I. 227 at 10-11; see also

 Ex. 5 ¶ 59.) Therefore, the first prong of the Akamai test fails here. IBM’s reliance on Travel

 Sentry, Inc. v. Tropp similarly fails because in that case “the very activity in which [the customer]

 seeks to participate is the very activity identified in the claim steps.” (D.I. 248 at 14; 877 F.3d

 1370, 1384 (Fed. Cir. 2017).) Not so here.                                 even if it was the activity

 identified in the claimed steps, and it is not—is not the “very activity in which [Groupon custom-

 ers] seek[] to participate.” Groupon’s customers are interested in buying deals.

                                   Groupon does not direct or control its customers actions under the

 standard laid out by Akamai. IBM’s last-minute theory fails.
                    3.     Formatting advertising to be presented with multiple applications, as
                           the claims require, cannot be done where the alleged advertising is the
                           purported application itself.

           IBM’s mapping of the claims to Groupon’s website also fails because Groupon’s alleged

 “advertising” is the purported application itself. Contrary to IBM’s arguments in opposition,

 Groupon does not contend that partitions may not overlap, such as when “window partitions ‘pop-

 up’ in front of the body partition.” (D.I. 120 at 7–8.) IBM is not pointing to overlapping windows.

 Rather,

                                                         (Schmidt Depo. at 150:10-23



                  ; Shamilov Supp. Decl., Ex. 1 at 167:3-11.) Displaying one thing—a single image or

 piece of text—cannot meet the requirement of “display[ing] concurrently” two different things at

 two different areas of the screen. And contrary to IBM’s assertion, “the identified advertising is

 [not] distinct from the identified applications.” (D.I. 248 at 15-16.) Its own expert explains that




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                                                         (Shamilov Supp. Decl., Ex. 1 at 160:4-20.)



          In its opposition IBM now argues for the first time—contrary to its expert reports and tes-

 timony—

                  (D.I. 248 at 16.) According to IBM’s new theory




   Screenshot    of  Groupon’s          Website,       Screenshot of Groupon’s Mobile Website,
   “Advertising” Removed.                              “Advertising” Removed.




  Screenshot of Groupon’s Android Application, Screenshot of Groupon’s iOS Application,
  “Advertising” Removed.                       “Advertising” Removed.


 (Ex. 7 ¶¶ 144; Shamilov Supp. Decl., Ex. 5 ¶ 146 (annotated); Shamilov Supp. Decl., Ex. 6 ¶¶ 140-


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 141 (annotated).) IBM’s new theory—                                   is too little and too late to avoid

 summary judgment.
                  4.      IBM admits that its prefetching arguments rely on re-interpreting the
                          claims.

          As in Priceline,                                                                    , the Court

 need not consider the “prefetching” requirement in order to grant Groupon’s motion. (Priceline,

 271 F. Supp. 3d at 638 n.7 (“Because the Court finds that Defendants cannot be liable for infringe-

 ment of the ’849 patent due to lack of direction or control of the ‘storing’ step, the Court need not

 address [the pre-fetching argument].”). But if it does, IBM advances a number of theories for pre-

 fetching that, as it admits, do not even require “fetching” to the reception system or “fetching” in

 advance of when content is needed.

          IBM’s CDN theory (D.I. 248 at 17) “reinterprets” the Court’s construction to contradict

 the claim language the Court was construing: “selectively storing at a store established at the

 reception system.” The fact that the Court construed the claimed “selectively storing” to include

 two aspects (prefetching and storing) did not rewrite the claim to mean something other than what

 it says, performing the “selective storage” at the reception system.

                                                  cannot meet the claims or the Court’s construction.

          IBM’s other theory,

              reads the “pre” out of “pre-fetching.” (Id. at 17-18.)



                                                                                          It was not pre-

 fetched in “anticipation of future display” as the claims require.

          Finally, IBM fails to rebut Groupon’s showing that



                                          (D.I. 248 at 21.) In addition, even under IBM’s own, albeit


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 broken, double-mapping, the claimed advertising

                  (Id.) The claims require “configuring the advertising as objects,” and then selec-

 tively storing those objects. (Ex. 2 at 39:58-61.) IBM has never identified a “selectively stored”

 advertising object that is a combination of                                                      IBM

 cannot show infringement of the ’849 patent, and summary judgment is proper.

 II.      IBM FAILS TO SHOW THAT A REASONABLE JURY CAN FIND THAT
          GROUPON INFRINGES THE ’601 PATENT.

          A.      IBM’s mapping of the claimed “service” is fatal to its case.

          One of the ’601 patent’s central features is the claimed “service”: “one or more of data

 and programs which the client may request.” (Ex. 9 at 18:2-3 (emphasis added).) In its expert

 reports, IBM mapped this “service” to different Groupon components as needed to piece together

 an infringement theory. In the beginning of the claim, the “service” was

                   later, it was                                                           (Compare,

 e.g., Shamilov Supp. Decl., Ex. 7 ¶¶ 92-96 with D.I. 228, Ex. 6 ¶ 305.) Now, on summary judg-

 ment, IBM argues squarely that                                                            (D.I. 248 at

 25-26.) Not only is that argument belied by its expert reports and by its expert’s deposition testi-

 mony, but it simply doesn’t work.

                                                                     IBM’s mapping of the claimed

 “service” is flawed and IBM cannot show that Groupon infringes the ’601 patent.

                  1.     IBM’s original theory mapped the “service” to different Groupon
                         components for different parts of the claims.

          IBM’s original theory, as set forth in the expert reports of Dr. Schmidt, mapped the claimed

 “service” in a single claim to two different things. For the preamble, which states that the “service”

 must be something requested by the client, Dr. Schmidt identified

                                   as the relevant requested service. (Ex. 14 ¶¶ 34-36.) Similarly,




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 when discussing “the client initiating the conversation with the server,” Dr. Schmidt again pointed

 to                                             (Shamilov Supp. Decl., Ex. 7 ¶¶ 92-96.) This mapping

 continued for the “detecting” step, in which Dr. Schmidt



                                                                                      (Schmidt Depo.

 at 360:3-17.) But when it came to the “identifying all continuations” step, Dr. Schmidt switched

 footing. The “said service” became



 (Ex. 6 ¶ 305; see Ex. 14 ¶ 131.) Because the claimed “service” must be the same service across

 all claim limitations, IBM’s infringement theory fails as a matter of law. See Dig. Biometrics, Inc.

 v. Identix, Inc., 149 F.3d 1335, 1345 (Fed. Cir. 1998) (“[T]he same word appearing in the same

 claim should be interpreted consistently.”).
                     2.     IBM’s new theory contradicts its own expert and still does not work.

          In its opposition, IBM seeks to cure this discrepancy. It now argues that

           is the claimed “service” throughout the claimed steps. (D.I. 248 at 25-26.) First, this

 theory is nowhere in any of its expert reports. Second, IBM’s own expert testified that, for exam-

 ple,

                                                                                           (Schmidt

 Depo. at 364:6-13.)

                                                                                                (Ex.

 14 ¶¶ 121, 125; Ex. 13 (“Dunham Depo.”) at 157:16-158:7.)

                  are not the “data and programs which the client may request.”8

 8
   Indeed, claim 51 confirms that the backend services cannot be the claimed service. The claim
 requires that the received request for service “include[] state information,” which is exchanged
 between the client and one or more servers. (Ex. 9 at 23:54-55.) IBM fails to show that this
 requirement is met by                                            In fact, IBM adduces no evidence


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 the set of continuations” returned by the server—whether or not the continuation is related to a

 particular transaction. (D.I. 64 at 25; Cf. Schmidt Depo. at 399:16-19, 404:16-405:3.) Because

 most links on any given Groupon webpage do not contain the purported state information (see,

 e.g., Ex. 5 ¶ 238), IBM cannot show that Groupon infringes the ’601 patent.12

          C.      Groupon’s mobile applications do not infringe the ’601 patent for additional
                  reasons.

          Much of the reasoning articulated above applies equally to Groupon’s mobile applications.

 For instance, just like the website, Groupon’s mobile applications also do not preserve state infor-

 mation in a conversation. (See Ex. 5 ¶ 212 (showing clickable elements in the mobile apps that do

 not preserve state).) But IBM’s infringement theories additionally fail because the accused mobile

 applications do not perform the required “embedding” step, and they do not “communicat[e]” an-

 ything “in response to” any embedding step.

                  1.     Groupon’s mobile applications do not perform the “embedding” step.

          In its opposition, IBM argues that
                                                                                      13
                                                                                           (D.I. 248 at

 28–29.) To show this, it submits two screenshots. The first is of the URL generated at the servers.

 (Id. at 29 (reproducing part of Ex. 16 ¶ 115).) The second is purportedly of the URL as modified

 and attached to a displayed button. (Id. (reproducing part of Shamilov Supp Decl., Ex. 9 ¶ 151).)

 IBM argues, that because the URLs changed, the mobile applications must have embedded the

 state information. But the latter screenshot is not the URL attached to any button—it is, instead,

 the “request that [the client] sent back to Groupon’s servers.” (Id.) IBM presents no evidence of


 12
    IBM argues that if Groupon does not infringe literally, it infringes under the doctrine of equiv-
 alents. (D.I. 248 at 33–34.) But it provides no such analysis for the requirement that state be
 preserved throughout a conversation. (Shamilov Supp. Decl., Ex. 7 ¶¶ 210-238.) IBM therefore
 cannot show that Groupon infringes under the doctrine of equivalents either.
 13
    Previously, IBM’s expert had also argued that
                                    (Schmidt Depo. at 486:21-487:23.)


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 the URL attached to any user interface element. It has no evidence that the client or server applied

 “a process one or more times to each identified continuation to modify all identified continuations

 to include state information,” as the Court’s construction requires. Nor does IBM point to Groupon

 code that performs this process. Thus, IBM cannot show that Groupon’s mobile applications per-

 form the “embedding” step.

                  2.      Groupon’s mobile applications do not perform the “communicating”
                          step.

           The claims require communicating output to the client either “in response to said step of

 embedding” or “including . . . embedded state information.” (Ex. 9 at 18:20-21, 23:60-61.) IBM

 argues that the “embedding” step takes place at the client. (D.I. 248 at 28-29.) How can the output

 with the embedded information be communicated to the client when it is already on the client? To

 get around this, IBM argues that communicating the output within the client is the same as com-

 municating the output to the client. (E.g., D.I. 248 at 29; Schmidt Depo. at 497:10-17; see also id.

 at 499:14-500:8 (acknowledging the same mapping for claim 51).)

           IBM argues that the Court permitted such a reading of the claims in Priceline. (D.I. 248 at

 28.) But what IBM cites is the Court’s identification of a structure for a means-plus-function

 element of a claim (claim 40) not asserted in this case. IBM Corp. v. Priceline Grp. Inc., No. CV

 15-137-LPS, 2016 WL 6405824, at *14 & n.28 (D. Del. Oct. 28, 2016). The Court did not find in

 Priceline, or here, that communicating “to” the client can mean communicating within the client.

 Id. The two are not the same and to permit otherwise ignores the definitions of common preposi-

 tions. For this reason, IBM cannot show that Groupon’s mobile applications perform the “com-

 municating” step. IBM cannot convince a reasonable jury to find that Groupon infringes the ’601

 patent.




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 III.     IBM FAILS TO SHOW THAT A REASONABLE JURY CAN FIND THAT
          GROUPON INFRINGES THE ’346 PATENT.

          A.      IBM misconstrues the language of claim 2.

          To sidestep the fact that

                     IBM parses “creating an alias identifier for the user at the first system” to mean

 that the identifier refers to the user located at the first system, not that the creating is done at the

 first system. (D.I. 248 at 34-35.) This claim construction argument fails as a matter of law.

          First, IBM’s interpretation is contrary to the plain and ordinary meaning of the claim lan-

 guage. Disputed claim 2 depends from claim 1, which recites in part: “creating a user account for

 the user at the second system.” The parties agree that this limitation means that the account is

 created at the second system. (See, e.g., Shamilov Supp. Decl., Ex. 9 ¶ 123; id., Ex. 11 ¶ 118.) In

 other words, there is no dispute that “at the second system” specifies where “creating a user ac-

 count” is performed, and not the location of the user. Claim 2 uses parallel language: “creating

 an alias identifier for the user at the first system.” The plain and ordinary reading of this limitation

 is again that the “creating” step is performed at the first system, not that the user is at the first

 system. Moreover, “the user” in claim 2 refers to the “user” in claim 1. Under IBM’s new inter-

 pretation, the same “user” would have to be “at the second system” in claim 1 and “at the first

 system” in claim 2. That cannot be. The logical reading of the claims is as follows: claim 1 recites

 after SSO is triggered, “receiving from the first system at the second system an identifier associated

 with the user,” and claim 2 adds that (1) this identifier is an “alias identifier” as defined in the

 specification and (2) the first system creates this alias identifier after SSO is triggered. Properly

 construed, Groupon does not infringe claim 2.

          Second, IBM’s new claim construction contradicts its own expert report and the ’346 pa-

 tent. As IBM’s expert originally opined and the parties agree,




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                                                                                        (See Shami-

 lov Supp. Decl., Ex. 9 ¶¶ 179-85; id., Ex. 11 ¶¶ 170-76.)14 The ’346 patent explains that the alias

 identifier is the identity and service providers’ “agreed-upon means of referring to this user” that

 “is included in the single-sign-on response that is sent from the identity provider to the service

 provider.” (Ex. 19 at 30:48-59 (emphasis added).) Here, in response to a SSO request,



                                                  (Ex. 20 ¶ 179, Ex. 21 ¶ 170.)



                                                                                          (Shamilov

 Supp. Decl., Ex. 9 ¶¶ 180-81, 183-85; id., Ex. 11 ¶¶ 171-72, 174-76.)




                         (See Shamilov Supp. Decl., Ex. 12 ¶¶ 417-421

                                                          Therefore,

                  be the “alias identifier” required by claim 2,

          Because

                                    Groupon’s system does not perform the step of creating an alias

 identifier at the first system required to infringe claim 2. As IBM has failed to show a dispute of

 material fact, summary judgment of non-infringement of claim 2 should be granted.

          B.      IBM raises no dispute of material fact that its infringement theory for claims
                  5, 8, and 10 fails as a matter of law.

          IBM fails to address substantially all of Groupon’s motion with respect to claims 5, 8, and

 10 of the ’346 patent. As Groupon previously explained,


 14
    Dr. Schmidt also never opined on IBM’s new theory that claim 2 only requires the user be at the
 first system, not that the “creating” step must take place at the first system.


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 ¶¶ 312-13; see also Ex. 22 at 143:7-155:24.) Specifically, Groupon’s system



                          (Id.)

          IBM has failed to establish that

                  practices the first limitation of claim 5, and presents no argument for how

                  practices the second limitation of claim 5. Summary judgment should be entered.

 IV.      AS A MATTER OF LAW, IBM CANNOT PROVE AN ACTUAL REDUCTION
          TO PRACTICE OF THE ’601 PATENT PRIOR TO THE FILING DATE.

          IBM admits that it cannot prove prior conception and diligence. Instead, it argues that

                                                          demonstrate an actual reduction to practice.

 That assertion fails as a matter of law.

          The asserted claims are all method claims. Proving actual reduction to practice of a method

 claim requires clear and convincing evidence that each step of the method “was actually per-

 formed” by the purported invention date. Lucent Techs., Inc. v. Gateway, Inc., No. 02CV2060-B

 CAB, 2007 WL 1877984, at *5 (S.D. Cal. June 27, 2007); Netscape Commc’ns Corp. v. Value-

 Click, Inc., 704 F. Supp. 2d 544, 561–62 (E.D. Va. 2010) (reduction to practice of method claim

 “necessarily requires that the process be performed” (emphasis added) (citing In re Omeprazole

 Pat. Litig., 536 F.3d 1361, 1373 (Fed. Cir. 2008))). Indeed, the key requirement to proving an

 actual reduction to practice is a “demonstration that the embodiment relied upon as evidence of

 priority actually worked for its intended purpose.” Scott v. Finney, 34 F.3d 1058, 1061 (Fed. Cir.

 1994) (emphasis added) (quoting Newkirk v. Luljian, 825 F.2d 1581, 1582 (Fed. Cir. 1987)). IBM

 has no such proof. A mapping of a handful of source code files to the claim limitations by its

 expert, at best, establishes a “theoretical capability,” which is insufficient as a matter of law to

 establish an actual reduction to practice. Newkirk, 825 F.2d at 1583. Nor can timestamps of the

 source code files establish actual operation of the claimed methods. IBM must show an actual


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 707 F. Supp. 2d 640, 652 (E.D. Va. 2010). Here, we have no such source code, documents, affi-

 davit, or expert testimony. IBM’s reliance on Kenexa also fails. The Court there did not find that

 source code timestamps created an issue of material fact; it found timestamped source code files

 coupled with testimony from multiple non-inventor witnesses as creating a triable issue of fact for

 some of the prior art systems and finding no such triable issue for the systems for which only

 timestamped source code files were produced. Kenexa Brassring, 751 F. Supp. 2d at 759–761.

          Finally, the Court should deny IBM’s belated request for leave to submit additional evi-

 dence. (D.I. 248 at 37 n.22.) Fact discovery ended months ago. Groupon requested information

 about prior invention at the start of discovery. (See Shamilov Supp. Decl., Ex. 14 at 7 (“[D]escribe

 in detail the circumstances of conception and reduction to practice of its subject matter . . . . [in-

 cluding] the complete circumstances surrounding such conception and reduction to practice . . .

 [and] an identification of the specific document(s) that corroborate the conception and reduction

 to practice of each element of the claim.”).) Groupon identified multiple intervening prior art

 references in its invalidity contentions on February 22, 2017 long before the close of discovery. 18

 (See id., Ex. 15 at 19-20.) To the extent IBM needed to pursue additional discovery after Spinning

 the Web was produced, IBM already had that opportunity, but did not take it. (D.I. 197 at 1 (“IBM

 is granted leave to pursue additional discovery relevant to (a) the ‘Spinning the Web’ reference . . .

 up to and including December 6, 2017”). IBM had a full opportunity to investigate the facts sur-

 rounding its own purported prior invention during this case and was required to provide them

 during DISCOVERY; it is too late to do so now.




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   Groupon’s preliminary invalidity contentions disclosed multiple intervening prior art references,
 including U.S. Patent No. 6,016,484 (Williams), filed on April 26, 1996; U.S. Patent No. 5,835,712
 (DuFresne), filed on May 3, 1996; and U.S. Patent No. 5,768,581 (Cochran), filed on May 7, 1996.
 (See id., Ex. 6 at 19; D.I. 228, Ex. 26 (U.S. Patent No. 6,016,484).)


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 V.       CONCLUSION

          IBM has failed to meet its burden of establishing that Groupon’s system infringes the as-

 serted patents for at least the foregoing reasons. IBM has also failed to prove prior conception,

 diligence, and reduction to practice prior to the filing date of the ’601 patent. Accordingly,

 Groupon respectfully requests that the Court grant its motion for summary judgment of non-in-

 fringement and enter judgment that the ’601 patent is not entitled to a priority date earlier than

 June 7, 1996.


                                                      ASHBY & GEDDES

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